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UNITED STATES COURT OF INTERNATIONAL TRADE

 

ROYAL BRUSH MANUFACTURING, INC.,

Plaintiff,

V.

UNITED STATES,

Defendant,
and

DIXON TICONDEROGA CO.,

Defendant-Intervenor.

 

 

 

Court No. 19-cv-00198

PUBLIC VERSION

{ Confidential } Proprietary
Information Removed from
pegs. 5, 7, 12, 13, 14

PLAINTIFF ROYAL BRUSH MANUFACTURING, INC.’s
OPPOSITION COMMENTS TO
AGENCY FINAL REMAND REDETERMINATION
PURSUANT TO COURT REMAND

Dated: April 26, 2021

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On behalf of Plaintiff, Royal Brush Manufacturing, Inc. (“Plaintiff’ or “Royal Brush”) we
respectfully submit these opposition comments to U.S. Customs and Border Protection’s (“CBP”
or “Customs”) March 22, 2021, Final Remand Redetermination, issued pursuant to this court’s
December 1, 2020, opinion and order. See Final Remand Redetermination, Mar. 22, 2021, ECF
No. 55 (“Remand Results).

I. COURT’S REMAND ORDER

On December 1, 2020, the Court of International Trade (“Court”) remanded CBP’s evasion
determination in EAPA Case 7238. Royal Brush Manufacturing Inc. v. United States, 44 CIT __,
__, 483 F. Supp. 3d 1294, 1308 (2020) (“RBM Decision”). The Court ruled that “an importer
participating in an administrative proceeding has a procedural due process right to ‘notice and a
meaningful opportunity to be heard.’” Jd. at 1305 (quoting PSC VSMPO-Avisma Corp. v. United
States, 688 F.3d 751, 761-62 (Fed. Cir. 2012)). Further, “[s]uch opportunity must occur ‘at a
meaningful time and in a meaningful manner.’” Jd. at 1306 (quoting Mathews v. Eldridge, 424
U.S. 319, 333 (1976)). The Court explained that “due process ‘forbids an agency to use evidence

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in a way that forecloses an opportunity to offer a contrary presentation|[.]’” Jd. (quoting Bowman
Transp., Inc. v. Arkansas-Best Freight System, Inc., 419 U.S. 281, 289 n.4 (1974)). “Thus, to

comply with due process, Customs’ procedures must afford adequate opportunity for importers to

respond to the evidence used against them.” Jd.

The Court concluded that “[t]he lack of public summaries accompanying the Attaché

 

1 On April 8, 2021, Defendant’s counsel filed the public and confidential administrative records underlying the remand
proceedings in EAPA Case No. 7238. See generally (Remand) Public Admin. R., Apr. 8, 2021, ECF No. 59, 59-1-6;
(Remand) Confidential Admin. R., Apr. 8, 2021, ECF No. 60, 60-1. To avoid confusion, these opposition comments
will use the marker “RPD” to identify public documents generated during remand and “RCD” to identify the
confidential documents. It will continue to use the markers “PD” and “CD” to identify documents filed as part of the
December 16, 2019, administrative record. See generally Public Admin. R., Dec. 16, 2019, ECF No. 23-1-3;
Confidential Admin. R., Dec. 16, 2019, ECF No. 24-1-19.

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Report and Verification Report are particularly concerning given CBP’s reliance on those reports
in its determination.” RBM Decision, 483 F. Supp. 3d at 1307. The Court found no indication that
the redacted information in those reports was not susceptible to public summarization and ruled
that CBP’s failure to provide public summaries deprived Royal Brush of an opportunity to be heard
in a meaningful time and in a meaningful manner. Jd. at 1305-1308. The Court remanded the
matter to CBP to remedy the lack of public summaries and provide Royal Brush the information
it should have received to meaningfully respond to the allegations against it. In addition, the Court
held that CBP had not explained why the Verification Report did not contain “new factual
information” to which Royal Brush was entitled to respond. In so doing, it rejected CBP’s
conclusory argument that the purpose of verification is to test the accuracy of submitted data and

ordered CBP to reconsider and further explain the issue on remand. Jd. at 1303-1304.

Il. PROCEDURAL HISTORY ON REMAND

On remand, CBP ordered the parties to the investigation to review and provide public
summaries of information redacted from documents each party placed on the administrative record
and, where summarization was impossible, provide the basis for such a claim.” CBP circulated its
“revised” public versions of nine (9) documents it developed and placed on the administrative
record to the parties to the investigation on January 5, 2021.7 See generally CBP’s Revised Pub.

Summaries, RPD 60-68, bates-stamp CBP0014438—CBP0014533 (Jan. 5, 2021).

On the same day, CBP re-opened the administrative record to allow parties to the

investigation to file information rebutting the “revised” public summaries. TRLED Email to

 

? CBP sent a similar demand letter to the Philippine Manufacturer. See TRLED Letter to Phil. Shipper Pub. Summaries
(7238 Remand), RPD 2, bates-stamp CBP0011711—15 (Dec. 18, 2020).

3 Tt is unclear, based on the record, whether or not the Philippine Manufacturer or its counsel received copies of CBP’s
“revised” public documents.
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Parties at Email Sent Jan. 5, 2021, 03:37 pm, RPD 69, bates stamp CBP0014534—CBP0014536
(Jan. 5, 2021) (relevant email appearing at bates-stamp CBP0014534). On January 19, 2021, Royal
Brush filed its rebuttal submission and challenge to the sufficiency of CBP’s and Dixon’s “revised”
public summaries. Between January 19, 2021, and January 26, 2021, Royal Brush attempted to
file its rebuttal submission on two separate occasions but was denied. CBP rejected Royal Brush’s

“,

submissions on grounds of insufficient citation to CBP’s “revised” public summaries. On January
28, 2021, after Royal Brush challenged CBP’s rejection of certain rebuttal exhibits, CBP
affirmatively requested Royal Brush to resubmit its amended rebuttal resubmission and Exhibits
E, E.1, H, H.1, and I, which Royal Brush promptly did. TRLED Email to Parties — Royal Brush
Re-Submission at Email Sent Jan. 28, 2021, 1:46 pm, RPD 75, bates stamp CBP0014554—60 (Jan.
28, 2021) (relevant email appearing at bates-stamp CBP0014555). The administrative record on
remand, as filed with the Court, however, does not reproduce copies of Royal Brush’s rebuttal

filings. Royal Brush requests the court order CBP to promptly file all such documents with the

Court.

On February 19, 2021, CBP transmitted its Draft Remand Redetermination and requested
comments thereto. See CBP’s Draft Remand Redetermination & Req. Comment, RPD 78, bates-
stamp CBP0014586—CBP0014612 (Feb. 19, 2021). Royal Brush timely filed its comments on
February 25, 2021. See Royal Brush’s Comments, RPD 79, bates-stamp CBP0014614—

CBP0014636 (Feb. 25, 2021).* CBP filed its Remand Results with the Court on March 22, 2021.

Il. ARGUMENT

On remand, CBP rejected relevant and timely rebuttal information and published public summaries

 

4 The confidential version of Royal Brush’s comments to the draft remand redetermination is reproduced as RCD 4.

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that do not permit a reasonable understanding of the bracketed information. In so doing, CBP
failed to comply with the Court’s remand order; deprived Royal Brush of due process; and acted
arbitrarily and capriciously. Accordingly, the Court should once again remand this case to CBP
with directions to provide Royal Brush with adequate access to, or summaries of, the information
in the Attaché Report and the Verification Report, together with an opportunity to respond to that
information. The Court should further direct CBP to reconsider its evasion determination in light

of Royal Brush’s response.

A. CBP’S ACTIONS ON REMAND CONTINUE TO DEPRIVE ROYAL
BRUSH OF DUE PROCESS

The Court explained that “to comply with due process, Customs’ procedures must afford
adequate opportunity for importers to respond to the evidence against them.” RBM Decision, 483
F. Supp. 3d at 1306. But the public summaries CBP created on remand fail to do so and are
“revised” in name only.

1. CBP’s “Revised” Public Summaries Unlawfully Limit Royal Brush’s
Access to Information

A procedure violates due process when an agency relies on “undisclosed” or “secret”
information to reach its conclusion, thus depriving plaintiff of the ability to test that evidence. See,
e.g., Greene v. McElroy, 360 U.S. 474, 492-97 (1959); Robbins v. United States R.R. Retirement
Board, 594 F.2d 448, 451-52 (Sth Cir. 1979); American-Arab Anti-Discrimination Comm. v. Reno,
70 F.3d 1045, 1069 (9th Cir. 1995) (“use of undisclosed information” presumptively violates due
process). Yet CBP continues to rely on “undisclosed” and “secret” information to support its
finding of evasion. CBP’s primary basis for concluding that evasion occurred is that the Philippine

Manufacturer could not have produced all of the pencils it exported to the U.S. in 2018 and so
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Royal Brush’s pencils must have been manufactured in China.° See Verification Rep. (Revised
Pub. Ver.) at 8-9, RPD 61, bates-stamp CBP0014451—CBP0014493 (Jan. 5, 2021) (pin-cite
appearing at CBP0014458—S9) (“Verification Rep. (Revised)”). CBP, however, refuses to disclose
the numerical data it used to calculate the Philippine Manufacturer’s overall production capacity
or the results of its calculation establishing that capacity.° Instead of entirely redacting those
figures, CBP now “summarizes” them as “no.” and “number.” On the basis of this calculation,
CBP concludes that the Philippine Manufacturer could produce only “some” of its 2018 U.S.
exports.’

Royal Brush cannot respond to this critical quantitative evidence without knowing what the
relevant figures are. In fact, Royal Brush’s counsel, having access to the complete record during
these judicial proceedings,* now knows that CBP calculated that the Philippine Manufacturer could
have produced approximately { } of its total 2018 U.S. exports.? Further, Royal
Brush’s 2018 imports from the Philippine Manufacturer represent just {

} of the pencils CBP calculated the Manufacturer could produce.!° Accordingly,

Royal Brush contends that CBP relied on an unrepresentative sample of data to construct the

 

> The Philippine Manufacturer is { }.

6 CBP contends that it does not have an affirmative statutory or regulatory obligation to range confidential data or
calculation inputs. See Remand Results at 32-33. CBP does, however, have an obligation to provide public
summaries that permit the reader to understand the “substance” of the bracketed information. Public summaries such
as “number” and “no.” do not meet the regulatory requirements. Furthermore, a lack of a statutory or regulatory
directive “does not relieve the agency of its general duty” to provide due process or exercise its statutory mandate in
a reasonable manner. Huzhou Muyun Wood Co., Ltd. v. United States, 279 F. Supp. 3d 1215, 1224-25 (2017)

7 Moreover, CBP continues to maintain that calculations of overall production do not constitute “new factual
information.”

8 As the Court notes, “access to the complete record on judicial review cannot cure improper withholding of
information by Customs[.]’” See RBM Decision, 483 F. Supp. 3d at 1307 n. 20.

° According to CBP, the Philippine Manufacturer’s 2018 U.S. exports totaled { } gross, and it had the
capacity to manufacture { } gross of those exports. See On-Site Verification Rep. at 9, EAPA Case No.
7238, CD 129, bates-stamp CBP0001 1542-85 (Feb. 11, 2019) (pin-cite appearing at bates-stamp CBP0011550) (“Conf.
Verification Rep.”).

10 Royal Brush’s 2018 orders were for { } gross, or { } percent of CBP-calculated capacity to manufacture.
Conf. Verification Rep. at 9 (pin-cite appearing at CBP0011550).

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equation it used to calculate overall production capacity.!! But the public summaries prepared by
CBP on remand deprive Royal Brush of the ability to make any of these responses.

CBP is required to provide public summaries that permit an understanding of the substance
of the bracketed (i.e., confidential) information.!? “Confidential information,” in turn, includes
“[(i)] trade secrets or [(ii)] commercial or financial information obtained from any person, which
is privileged or confidential in accordance with 5 U.S.C. § 552(b)(4) (i.e., Exemption 4 of the
Freedom of Information Act). “Commercial or financial information” constitutes information that
relates to a commercial or financial interest and needs to be of a kind that is “customarily [and
actually] kept private, or at least closely held by the person imparting it[ ]” when communicated
to the government. Food Mktg. Inst. v. Argus Leader Media, _U.S. __, 139 S. Ct. 2,356, 2,363
(2019) (noting, also, that transmission under assurance of privacy may, under circumstances, serve
as a second evaluative condition).

In its public summaries, CBP refuses to disclose certain non-confidential information it
used to conclude that the Philippine Manufacturer was “unequivocally” re-packaging Chinese-
origin pencil products with the intent of shipping such products to the United States. See Admin.
Review Determination in EAPA Case No. 7238, CBP Office of Trade Regulations & Rulings, PD
64, bates-stamp CBP0002449-67 (Sept. 24, 2019) (pin-cite appearing at bates-stamp
CBP0002461-62). This information includes (1) the country of destination for boxes contaiming
the “Made in China” pencils; (11) the type of “completed pencil product” contained in the boxes its
Attaché observed on the factory floor; and (111) the overall condition of the boxes used to store the

“completed” product. See, e.g., Remand Results at 23-24, 30-31, 35-36. CBP’s public

 

1! Infra section IIL.C.
2 CBP must provide public summaries of (i) confidential information (ii) that have “sufficient detail to permit a
reasonable understanding of the substance of the [confidential] information.” 19 C.F.R. § 165.4.

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summaries are insufficient and could offer “sufficient detail” because, for example, information
like the country of destination, the type of pencil product (information the Philippine Manufacturer
freely shares on its website),!? and the condition of the boxes would not qualify for confidential
treatment under Exemption 4. See, e.g., Friends of Animals v. Bernhardt, No. 19-cv-01443-MEH,
2020 WL 2041337, at *7 (D. Colo. Apr. 24, 2020) (holding country of destination is not
confidential information required to be withheld under Exemption 4); Argus Leader, U.S. _,
139 at 2363 (holding only information that is kept private (and not freely shared to the public) in
the normal course of a party’s business 1s eligible for confidential treatment under the Freedom of
Information Act (Exemption 4)). Moreover, CBP seems to agree with Royal Brush that the “pencil
type, export destination, or condition of boxes” are not confidential information, yet arbitrarily
withholds such information and denies Royal Brush an opportunity to rebut it. Remand Results at
30-31 (CBP, in refusing to disclose the photographs, argues that such photographs would reveal
more than pencil type, export destination, or condition of boxes because the photographs show
boxes labeled with information revealing Philippine Manufacturer’s U.S. customers, which is
information “generally considered as confidential”).

Royal Brush cannot adequately respond to the observations made by the Attaché, and the
conclusions drawn by him, without access to the information described above. By way of example,
it is crucial for Royal Brush’s defense to know whether (1) the repackaged pencils were of the same
type as exported to Royal Brush; (ii) the Chinese characters identify a company name, a type of
raw material used in pencil-production, or a color; (iii) the contents of a given box match the label

affixed thereto; and (iv) a particular box of “completed” product was packaged for export to the

 

3 The Philippine Manufacturer freely publishes, on its website, customer-location information and its product-
offerings (accompanied by photographs). See generally {

}. Plaintiff brackets the citation only
because the name of the Philippine Manufacturer has been deemed confidential in these proceedings.

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U.S. or elsewhere or for storage, or some other manipulation at the factory.

CBP builds on each piece of the “secret” and “undisclosed” evidence identified above to
reach its ultimate conclusion of evasion. CBP’s procedures, however, prohibit Royal Brush from
testing the accuracy of such evidence, proffering an alternative explanation for the same, or
assessing the reasonableness of the conclusions CBP reached based on any such evidence.'* Due
process mandates that Royal Brush be apprised of all the evidence against it and have a meaningful
opportunity to respond to that evidence. Accordingly, CBP’s procedure for developing “public
summaries” violates due process.

CBP’s argument that the statute and regulation do not permit Royal Brush to view the
above-described information, see Remand Results at 19-20, is unpersuasive. The EAPA statute
and regulations do not purport to abridge fundamental procedural due process rights. Nor are they
properly construed to do so. See Huzhou Muyun Wood Co., Ltd. v. United States, 279 F. Supp. 3d
1215, 1224—25 (2017) (“The absence of a specific statutory obligation does not relieve the agency
of its general duty to execute its statutory mandates reasonably, or to provide interested parties a
meaningful opportunity to comment.”); cf Al Haramain Islamic Foundation, Inc. v. U.S. Dept. of
Treasury, 686 F.3d 965, 982-84 (9th Cir. 2012) (ordering additional process, not provided for
under the statute, to enable the accused to confront and dispute the classified evidence against it).

CBP’s regulations require it to develop public summaries that “permit a reasonable
understanding of the substance of the [bracketed] information.” 19 C.F.R. § 165.4. This obligation

is particularly acute given the lack of an Administrative Protective Order procedure, like the one

 

14 The Government, not the investigated party, has the burden of establishing fair and meaningful process.
Accordingly, CBP’s claim that Royal Brush was “free to obtain” the Philippine Manufacturer’s consent to release
certain confidential information, Remand Results at 30, stands the Fifth Amendment on its head. Royal Brush cannot
act outside the established adjudicative procedures; furthermore, even if it had, any information that it learned would
be outside the record and inadmissible.
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used by the U.S. Department of Commerce in AD / CVD proceedings pursuant to 19 C.F.R. Part
351. Cf Al Haramain, 686 F.3d at 982-84 (holding that, should the statutory or regulatory
procedures prove inadequate, the court can and should craft procedures that will allow plaintiff a

meaningful opportunity for comment). Contrary to this regulatory requirement, CBP’s “revised”

public summaries fail to provide the “substance” of the bracketed information and, instead, simply

>? ¢¢, ”

offer superficial descriptions—for example, “country name(s),” “number,” “dates,” “completed

2? <6. ”

pencil product,” “manufacturer name,” and “equipment.” To sustain the sufficiency of these
summaries would be to read out of the regulation its requirement that the summaries convey the
“substance” of the bracketed information. More fundamentally, it would deny Royal Brush due
process.

2. CBP Fails to Provide Sufficient Notice

In addition, CBP’s continued insistence that the Verification Report contains no new
factual information deprives Royal Brush of the adequate notice and opportunity to respond that
due process requires. See Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314-15
(1950); see also Essex Mfg., Inc. v. United States, 27 CIT 630, 650, 264 F. Supp. 2d 1285, 1303
(2003). Recently, the Court ruled it was “not persuaded that [respondent] possessed a meaningful
‘opportunity to present evidence, challenge Commerce’s preliminary determination, and otherwise
participate fully in the new shipper review,’ . . . because [respondent] was not clearly apprised of
what, specifically, it was meant to rebut.” Huzhou Muyun, 279 F. Supp. 3d at 1224-25. Royal
Brush has been placed in the same position here.

CBP’s investigation, up until verification, focused on whether the Philippine Manufacturer
had sufficient capacity, raw materials, and staff to produce Royal Brush’s pencils at the time the

orders were placed. In fact, CBP’s Site Verification Agenda clearly states that “[v]erification will
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be made of merchandise contained on specific invoices[,]” each connected to Royal Brush’s
orders. See TRLED — Phil. Mff.’s Site Visit Verification Agenda, PD 33, bates-stamp CBP
0001281—83 (Nov. 7, 2018); see also TRLED — Phil. Mfr.’s Site Visit Engagement Letter at 2, PD
34, bates-stamp CBP0001285-—88 (pin-cite appearing at bates-stamp CBP0001287) (requesting the
Philippine Manufacturer be prepared “to walkthrough [its] production process in detail using”
Royal Brush’s invoices and ensure documentation connected to the same e.g., shipping/receiving
documents; inventory receipts; payments for raw supplies were available in English); Verification
Rep. (Revised) at 2 (pin-cite appearing at bates-stamp CBP0014452) (“the scope of the verification
of factual information included . . . seven (7) invoices associated with imports by Royal Brush”).
At verification, however, CBP changed course. Despite record evidence of sufficient capacity to
produce Royal Brush’s orders, CBP decided to pivot to construing the Philippine Manufacturer’s
overall production capacity.

Although CBP may have legitimate reasons for exploring the issue of overall production
capacity, that issue had not been squarely raised prior to the publication of the Verification Report.
Consequently, Royal Brush “was not clearly apprised of what, specifically, it [needed] to rebut.”
Huzhou Muyun, 279 F. Supp. 3d at 1224-25.

To the extent CBP argues that two record documents announced the agency’s intent to
verify overall production capacity, the argument is unpersuasive. See Remand Results at 8, 9 n.35.
A redacted “factory profile” document, produced by the Philippine Manufacturer to help CBP
understand “how the manufacturing process is laid out and operates” does not satisfy the notice
requirement. See Phil. Mfr.’s —RFI Resp. Parts 1 & 2 at Ex. 31, PD 24, bates-stamp CBP0000183-
CBP00008724 (Oct. 3, 2018) (pin-cite appearing at CBP000814—24); Phil. Mfr.’s — RFI Narrative

Resp. at 19, PD 25, bates-stamp CBP0000826—CBP0000854 (Oct. 3, 2018) (pin-cite appearing at

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CBP000834). CBP is the party responsible for framing the issues, not Royal Brush. Nor was
adequate notice provided by an NTAG Import Data report that, at the time of production was titled,
“Import Data,” with no attribution to a particular entity or applicable year(s), and, per CBP, was
“Not Capable [of] Summary.” NTAG Import Data, PD 13, bates-stamp CBP0000059 (June 25,
2019). An opportunity for Royal Brush “to guess at the factual and legal bases for a government
action does not substitute for actual notice of the government’s intentions.” 4/ Haramain, 686
F.3d at 986-87.

B. CBP FAILS TO CORRECTLY RESOLVE WHETHER THE
VERIFICATION REPORT CONSTITUTES “NEW FACTUAL INFORMATION”

CBP again asserts that it does not consider verification reports prepared for EAPA
investigations to be “new factual information” and that the contents of the Verification Report in
this proceeding, including all calculations, represent the results of the agency’s verification and
use of factual data on the record. See Remand Results at 4-10. But the Court has previously
rejected the argument that, by its very nature, the contents of a verification report can never
constitute new factual information. CBP now takes the position that only information unrelated to
and outside the scope of verification (e.g., agency discovers, at verification, that foreign
manufacturer is also evading other AD / CVD orders) may constitute “new factual information,”
Remand Results at 6, however, this argument reprises the discredited argument that information
within the scope of the verification cannot be “new.”

CBP’s verification process created “new factual information” in this case. Contrary to
CBP’s claims, it did not merely verify factual data already in the record. Prior to the verification,
CBP had not sought, nor had the Philippine Manufacturer provided, data about its overall
production capacity. CBP’s verification agenda did not request documents connected to overall

production capacity or request records substantiating the same. The Verification Report purported

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to generate such data—for the first time—by extrapolating from the information produced about
Royal Brush’s seven orders, which constitutes only { } percent even from the CBP-calculated
production capacity. It is therefore incredible for CBP to claim that the data in the Verification
Report about the overall production capacity of the Philippine Manufacturer was not new factual
information to which Royal Brush is entitled to respond.

C. CBP’s REMAND RESULTS ARE ARBITRARY AND CAPRICIOUS

Finally, key factual conclusions that CBP has reached are arbitrary and capricious.
Although the Court does not evaluate whether the information CBP used was the best available, it
does scrutinize whether a reasonable mind could conclude that the agency chose the best available
information. See SeAH Steel VINA Corporation v. United States, 950 F.3d 833, 842 (Fed. Cur.
2020). Further, CBP must support its decision with substantial evidence. Jd. at 847. “Guesswork
is no substitute for substantial evidence in justifying decisions.” Jd. (citation omitted). “The
substantiality of evidence must take into account whatever in the record fairly detracts from its
weight.” Universal Camera Corp. v. N.L.R.B., 340 U.S. 474, 488 (1951). An agency’s reliance
on a rationale “that runs counter to the evidence before the agency, or is so implausible that it could
not be ascribed to a difference in view or the product of agency expertise[,]” is arbitrary and

capricious. Motor Vehicle Mfrs. Ass’n. v. State Farms Ins., 463 U.S. 29, 43 (1983).

1. Record Evidence Demonstrates that the Philippine Manufacturer had
Sufficient Raw Materials, Equipment, and Work Force to Manufacture Royal
Brush’s Pencils

CBP ignores record evidence demonstrating that the Philippine Manufacturer had
sufficient raw materials, equipment, and employees to produce all the pencils comprising Royal
Brush’s orders, at the time they were ordered. See, e.g., Royal Brush’s Written Arguments at Ex.

A, CD 130, bates-stamp CBP0011597—CBP0011641 (Mar. 25, 2019) (pin-cite appearing at

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CBP0011640-41) (reproducing a chart that identifies record evidence substantiating production

capacity to manufacture Royal Brush’s 2018 orders). Instead, CBP concludes that Royal Brush

evaded the applicable antidumping order, 1.e., that all of its pencils were of Chinese-origin, because

the record did not prove the Philippine Manufacturer had sufficient capacity to produce all its 2018

U.S. pencil exports. As explained in greater detail below, Royal Brush’s 2018 orders amount to {

} gross pencils. By contrast, the Philippine Manufacturer’s 2018 U.S. exports amount to {

} gross pencils. Accordingly, CBP’s decision to use overall production capacity to

determine whether the Philippine Manufacturer could satisfy Royal Brush’s orders, when there is
evidence on the record specific to Royal Brush’s orders, is arbitrary and capricious.

2. Finding of Evasion as to All of Royal Brush’s Imports

In concluding that all of Royal Brush’s pencils entered through evasion, CBP ignores the
results of its own calculations. CBP concluded that the Philippine Manufacturer could produce
the great majority of its 2018 U.S. exports: { }. Royal Brush’s 2018 orders represent
just { } of the pencils CBP found the Philippine
Manufacturer was capable of producing. Despite these findings, CBP concludes that none of
Royal Brush’s pencils were manufactured by the Philippine Manufacturer and that all of those
pencils were instead manufactured in China and entered through evasion. CBP’s conclusion is
irrational and unsupported by substantial evidence and, therefore, it is arbitrary and capricious.

3. Calculating Production Capacity

CBP used data about Royal Brush’s orders (e.g., purchasing, production, and employment
records tied to production of the pencils Royal Brush ordered) to extrapolate the Philippine
Manufacturer’s overall production capacity. However, record evidence demonstrates that Royal

Brush’s orders for 2018 account for just { } of the pencils the Philippine Manufacturer

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could produce in that year, per CBP’s own calculations.!? Record evidence also demonstrates that
the Philippine Manufacturer had other, much larger customers such as { } and big-box stores
like { }. See EAPA 7238 — Site Visit Report: CBP Attaché, Subic Bay, Phil.
at 3, 16, CD 5, bates-stamp CBP0002540-55 (June 15, 2018) (pin-cite appearing at bates-stamp
CBP0002541, CBP0002555). Further, the Philippine Manufacturer’s operations allow it to easily
increase or decrease production based on demand. Yet CBP failed to seek evidence about the
Philippine Manufacturer’s overall production capacity from the Philippine Manufacturer, itself,
either during the original EAPA investigation or on remand. Under these circumstances, it is
impossible for a reasonable mind to conclude that the agency chose the best available information

and that its conclusion about the overall production capacity is supported by substantial evidence.

IV. CONCLUSION

It is clear that the CBP’s calculations of the Philippine Manufacturer’s overall production
capacity in the Verification Report interjected a new issue in this case without advance notice to
Royal Brush. Those calculations constituted new factual information to which Royal Brush was
entitled to respond. Yet that new information has not been disclosed to Royal Brush in a manner,
and in sufficient detail, to enable it to respond. Nor has Royal Brush yet been provided with
adequate summaries of significant evidence in the Attaché Report upon which CBP also relies.
Finally, certain of the key conclusions that CBP has reached are unsupported by substantial
evidence and must be overturned. Accordingly, the Court should once again remand this case to

CBP with directions to provide Royal Brush with adequate access to, or summaries of, the

 

15 Royal Brush’s orders for 2018 amount to { } gross. See Pl.’s Mem. Supp. Mot. J. Agency. R. at 24-26, Mar.
16, 2020, ECF No. 33-1 (explaining and citing to relevant record evidence). CBP calculates the Philippine
Manufacturer’s annual production capacity to be { } gross. See Conf. Verification Rep. at 9 (pin-cite
appearing at CBP0011550). Thus, Royal Brush’s orders account for { } percent of 2018 production capacity as
calculated by CBP.

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information in the Attaché Report and the Verification Report, together with an opportunity to

respond to that information. The Court should further direct CBP to reconsider its evasion

determination in light of Royal Brush’s response.

Dated: April 26, 2021

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Respectfully submitted,

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WORD COUNT CERTIFICATE OF COMPLIANCE

Pursuant to the court’s order in Royal Brush Manufacturing Inc. v. United States, 44 CIT
__, __, 483 F. Supp. 3d 1294, 1308 (2020) and the U.S. Court of International Trade’s Standard
Chambers Procedures 2(B)(1), the undersigned certifies that these opposition comments do not
exceed the 5,000 word limitation requirement. The word count for Plaintiff Royal Brush
Manufacturing, Inc.’s Opposition Comments to Agency Final Remand Redetermination Pursuant
to Court Remand, as computed by Holland & Knight LLP’s word processing system (Microsoft
Office Professional Plus 2016), is 4,673 words.

Respectfully submitted,

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